       Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 1 of 21


 1   RUKIN HYLAND & RIGGIN LLP
     Peter Rukin (SBN 178336)
 2   Jessica Riggin (SBN 281712)
     Valerie Brender (SBN 298224)
 3   1939 Harrison Street, Suite 290
     Oakland, CA 94612
 4   Tel: (415) 421-1800
     Fax: (415) 421-1700
 5   Email: prukin@rukinhyland.com
     Email: jriggin@rukinhyland.com
 6   Email: vbrender@rukinhyland.com
 7   NICHOLAS & TOMASEVIC, LLP
     Craig M. Nicholas (SBN 178444)
 8   Alex Tomasevic (SBN 245598)
     Shaun Markley (SBN 291785)
 9   225 Broadway, 19th Floor
     San Diego, California 92101
10   Tel: (619) 325-0492
     Fax: (619) 325-0496
11   Email: cnicholas@nicholaslaw.org
     Email: atomasevic@nicholaslaw.org
12   Email: smarkley@nicholaslaw.org
13   Attorneys for Plaintiff,
     JOHN FLEMING
14
                                    UNITED STATES DISTRICT COURT
15
                                  NORTHERN DISTRICT OF CALIFORNIA
16

17
     JOHN FLEMING, on behalf of himself and all        Case No.: 3:19-cv-00463-WHO
     others similarly situated,
18
                                                       PLAINTIFF’S NOTICE OF MOTION AND
                    Plaintiff,                         MEMORANDUM OF POINTS AND
19
                                                       AUTHORITIES IN SUPPORT OF MOTION
            vs.                                        FOR FINAL APPROVAL OF CLASS
20
                                                       ACTION SETTLEMENT
     MATCO TOOLS CORPORATION, a Delaware
21   corporation; NMTC, INC. d/b/a MATCO
     TOOLS, a Delaware corporation, FORTIVE   Date: April 27, 2022
22   CORPORATION, a Delaware corporation; and Time: 2:00 p.m. th
     DOES 1-20, inclusive,                    Courtroom: 2, 17 Floor
23
                    Defendants.                        Judge: Hon. William H. Orrick
24
                                                       Action Filed: January 25, 2019
25

26

27

28

                                                                        CASE NO.: 3:19-CV-00463-WHO
                                 PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR
                                 FINAL APPROVAL OF CLASS ACTION SETTLEMENT
       Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 2 of 21


 1   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that on April 27, 2022, at 2:00 pm or as soon thereafter as the
 3   matter may be heard in the courtroom of the Honorable William Orrick in Courtroom 2, 17th
 4   Floor, 450 Golden Gate Ave, San Francisco, California, Plaintiff John Fleming will and hereby
 5   will does make this motion for an order from this Court granting final approval of this proposed
 6   class action and PAGA representative Settlement.
 7          Through this motion, Plaintiff seeks an order from the Court: (1) granting final approval of
 8   the proposed Settlement; (2) finding that adequate notice was provided to the Settlement Class; (3)
 9   approving a payment of $10,000 to ILYM Group, Inc. for settlement administration costs; (4)
10   approving a payment of $187,500 to the California Labor and Workforce Development Agency
11   (LWDA); and (5) dismissing this lawsuit with prejudice while retaining jurisdiction over the case
12   and the Parties to the extent necessary to implement the terms of the Settlement Agreement until
13   each act agreed to be performed by the Parties under the Settlement has been performed.
14          This motion is based on this Notice of Motion and Motion, Declaration of Madely Nava of
15   ILYM Group, Inc. (“ILYM Decl.), the Declaration of Peter Rukin, the Declaration of Alex
16   Tomasevic, all other pleadings and papers on file in this action, and such argument as the Court
17   may hear.
18

19
     Dated: March 28, 2022                                    RUKIN HYLAND & RIGGIN LLP
20
                                                  By:          /s/ Peter Rukin
21                                                            Peter Rukin (SBN 178336)
                                                              Jessica Riggin (SBN 281712)
22                                                            Valerie Brender (SBN 298224)
                                                              1939 Harrison Street, Suite 290
23                                                            Oakland, CA 94612
                                                              Tel: (415) 421-1800
24                                                            Fax: (415) 421-1700
                                                              Email: prukin@rukinhyland.com
25                                                            Email: jriggin@rukinhyland.com
                                                              Email: vbrender@rukinhyland.com
26
                                                              Attorneys for Plaintiff,
27                                                            JOHN FLEMING

28

                                                        -i-
                                                                    CASE NO.: 3:19-CV-00463-WHO
                             PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR
                             FINAL APPROVAL OF CLASS ACTION SETTLEMENT
     Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 3 of 21


 1                                                 NICHOLAS & TOMASEVIC, LLP

 2                                     By:         /s/ Shaun Markley
                                                   Craig M. Nicholas (SBN 178444)
 3                                                 Alex Tomasevic (SBN 245598)
                                                   Shaun Markley (SBN 291785)
 4                                                 225 Broadway, 19th Floor
                                                   San Diego, California 92101
 5                                                 Tel: (619) 325-0492
                                                   Fax: (619) 325-0496
 6                                                 Email: cnicholas@nicholaslaw.org
                                                   Email: atomasevic@nicholaslaw.org
 7                                                 Email: smarkley@nicholaslaw.org
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                          - ii -
                                                             CASE NO.: 3:19-CV-00463-WHO
                      PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                      FINAL APPROVAL OF CLASS ACTION SETTLEMENT
           Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 4 of 21


                                                       TABLE OF CONTENTS
 1
     I.       INTRODUCTION ...................................................................................................................1
 2
     II.      RELEVANT FACTUAL BACKGROUND AND PROCEDURAL HISTORY ....................1
 3
     III.     NOTICE PROCESS AND CLASS MEMBER RESPONSE ..................................................2
 4
     IV.      OVERVIEW OF THE PROPOSED SETTLEMENT .............................................................3
 5
              A.        The Settlement Class ...................................................................................................3
 6
              B.        Relief To The Settlement Class ...................................................................................4
 7
                        1.         Monetary And Debt Relief ..............................................................................4
 8
                        2.         Amended Distributorship Agreements ............................................................6
 9
              C.        Service Awards, Attorneys’ Fees, And Costs .............................................................8
10
              D.        Release Of Claims .......................................................................................................8
11
     V.       THE COURT SHOULD GRANT FINAL APPROVAL OF THE SETTLEMENT ..............9
12
              A.        The Criteria For Final Settlement Approval Are Satisfied ..........................................9
13
                        1.         The Settlement Is Fair Given The Strength Of Plaintiff’s Case And
14                                 The Risk, Expense, Complexity, And Likely Duration Of Further
                                   Litigation .......................................................................................................10
15
                        2.         The Settlement Reflects The Informed Views Of Experienced
16                                 Counsel And Is The Product Of Serious, Arm’s-Length Negotiations
                                   Conducted After Extensive Discovery And Investigation ............................11
17
                        3.         The Lack Of Opposition By The Class Supports Approval Of The
18                                 Settlement ......................................................................................................12
19            B.        The Notice Provided To Class Members Was Reasonable .......................................13
20            C.        The Requested LWDA Payment Is Reasonable ........................................................13
21            D.        The Requested Administration Costs Are Reasonable ..............................................14
22   VI.      CONCLUSION .....................................................................................................................14
23

24

25

26

27

28

                                                                        - iii -
                                                                             CASE NO.: 3:19-CV-00463-WHO
                                      PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                                      FINAL APPROVAL OF CLASS ACTION SETTLEMENT
        Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 5 of 21


 1                                                   TABLE OF AUTHORITIES
                                                                                                                                      Page(s)
 2
     Federal Cases
 3

 4   Boyd v. Bechtel Corp.,
       485 F. Supp. 610 (N.D. Cal. 1979) ............................................................................................... 12
 5
     Chu v. Wells Fargo Invs., LLC,
 6     No. C-05-4526-MHP, 2011 WL 672645 (N.D. Cal. Feb. 16, 2011) ............................................ 14
 7   Churchill Vill., L.L.C. v. Gen. Elec.,
       361 F.3d 566 (9th Cir. 2004) ........................................................................................................ 12
 8

 9   Class Plaintiffs v. City of Seattle,
       955 F.2d 1268 (9th Cir. 1992) ........................................................................................................ 9
10
     Fleming v. Matco Tools Corporation,
11     384 F.Supp.3d 1124 (N.D. Cal. May 3, 2019) ............................................................................. 11

12   Franklin v. Kaypro Corp.,
       884 F.2d 1222 (9th Cir. 1989) ........................................................................................................ 9
13
     In re Mego Fin. Corp. Sec. Litig.,
14
        213 F.3d 454 (9th Cir. 2000) ........................................................................................................ 10
15
     In re Omnivision Techs., Inc.,
16      559 F. Supp. 2d 1036 (N.D. Cal. 2008) ........................................................................................ 11

17   In re Pac. Enterprises Sec. Litig.,
        47 F.3d 373 (9th Cir. 1995) .......................................................................................................... 11
18
     Klee v. Nissan N. Am., Inc., No.,
19     CV1208238AWTPJWX, 2015 WL 4538426 (C.D. Cal. July 7, 2015) ....................................... 12
20
     McKenzie v. Fed. Exp. Corp.,
21    No. CV 10-02420 GAF PLAX, 2012 WL 2930201 (C.D. Cal. July 2, 2012) ............................. 14

22   Millan v. Cascade Water Servs., Inc.,
       No. 112CV01821AWIEPG, 2016 WL 3077710 (E.D. Cal. May 31, 2016) ................................ 14
23
     Nat'l Rural Telecommunications Coop. v. DIRECTV, Inc.,
24     221 F.R.D. 523 (C.D. Cal. 2004)...................................................................................... 10, 11, 12
25
     O'Connor v. Uber Techs., Inc.,
26     201 F. Supp. 3d 1110 (N.D. Cal. 2016) .................................................................................. 13, 14

27   Officers for Just. v. Civ. Serv. Comm'n of City & Cty. of San Francisco,
       688 F.2d 615 (9th Cir. 1982) .......................................................................................................... 9
28

                                                                       - iv -
                                                                              CASE NO.: 3:19-CV-00463-WHO
                                       PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                                       FINAL APPROVAL OF CLASS ACTION SETTLEMENT
        Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 6 of 21


     Pederson v. Airport Terminal Servs.,
 1     2018 WL 2138457 (C.D. Cal. April 5, 2018) ............................................................................... 11
 2
     Satchell v. Fed. Express Corp.,
 3     2007 WL 1114010 (N.D. Cal. Apr. 13, 2007) .............................................................................. 11

 4   Schiller v. David’s Bridal, Inc.,
        1:10-cv-00616-AWI-SKO, 2012 WL 2117001 (E.D. Cal. Jun. 11, 2012) ............................. 12, 14
 5
     Staton v. Boeing Co.,
 6     327 F.3d 938 (9th Cir. 2003) .......................................................................................................... 9
 7
     Federal Rules
 8
     Fed. R. Civ. P. 23 ............................................................................................................................. 13
 9   Fed. R. Civ. P. 23(c)(2)(B) ............................................................................................................... 12
     Fed. R. Civ. P. 23(e)(1) .................................................................................................................... 12
10   Fed. R. Civ. P. 23(e)(2) ...................................................................................................................... 9
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                           -v-
                                                                                CASE NO.: 3:19-CV-00463-WHO
                                         PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                                         FINAL APPROVAL OF CLASS ACTION SETTLEMENT
          Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 7 of 21


 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.      INTRODUCTION

 3           On January 20, 2022, the Court entered an Order granting preliminary approval of the class

 4   and PAGA representative Settlement reached in this action against Matco Tools Corporation,

 5   NMTC, Inc. d/b/a Matco Tools and Fortive Corporation (“Matco” or “Defendant”). Dkt. 104

 6   (“Preliminary Approval Order”). Since that time, notice of the Settlement has been distributed to

 7   the Class, and Class Members’ reaction to the settlement has been overwhelmingly positive. The

 8   Notice was disseminated to 294 Class Members, and thus far, none have requested exclusion from

 9   the Settlement or objected. 1 To the contrary, Class Counsel have received positive feedback about

10   the Settlement. Further, as discussed below, the proposed Settlement satisfies all criteria for final

11   settlement approval. The Settlement is fair and reasonable and provides substantial relief to Class

12   Members in light of the strengths and weaknesses of the case, the risks of further litigation, and the

13   beliefs and experience of Class Counsel. In addition, the proposed payments to the Settlement

14   Administrator and the Labor and Workforce Development Agency (LWDA) are reasonable.

15   Accordingly, Plaintiff respectfully requests that the Court enter an Order granting final approval of

16   the Settlement.

17   II.     RELEVANT FACTUAL BACKGROUND AND PROCEDURAL HISTORY

18           As has been extensively previously briefed in this case, Plaintiff alleges that he and his fellow

19   Distributors were misclassified as “independent contractors,” and as a result are owed monies under

20   California employment law. In Plaintiff’s earlier-filed Motion for Attorneys’ Fees, Costs, and

21   Service Awards (Dkt. 105, at 2-4) (“Motion for Attorneys’ Fees”) and the related declarations of

22   counsel (Dkts. 105-2, 105-6), Plaintiff outlined the factual background and procedural history of this

23   matter. Pursuant to this Court’s Procedural Guidance for Class Action Settlements, 2 Plaintiff refers

24   the Court to the background and procedural history from his Motion for Attorneys’ Fees and will

25
     1
       The deadline to opt out of the arbitration provision of the amended Distributorship Agreement
26   passed on March 24, 2022 with no opt-outs. The deadline to object or opt-out of the Settlement is
     April 8, 2022. Class Counsel will submit a supplemental statement to the Court after the close of
27   the consideration period advising the Court as to the final Class Member response to the
     Settlement. Rukin Decl. ¶ 18.
28   2
       Available at: https://www.cand.uscourts.gov/forms/procedural-guidance-for-class-action-
     settlements/, see Final Approval, subsection (2).
                                                       -1-
                                                                      CASE NO.: 3:19-CV-00463-WHO
                               PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR
                               FINAL APPROVAL OF CLASS ACTION SETTLEMENT
       Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 8 of 21


 1   not repeat the same background facts here, except for the relevant post-Preliminary Approval history

 2   detailed below.

 3   III.   NOTICE PROCESS AND CLASS MEMBER RESPONSE

 4          Pursuant to the Court’s preliminary approval order, ILYM Group, Inc. (“ILYM”) is the

 5   Settlement Administrator for this case. In accordance with the terms of the Settlement, on

 6   February 4, 2022, Matco provided ILYM with an Excel spreadsheet containing the names of 294

 7   individuals identified as Class Members. Declaration of Madely Nava of ILYM Group, Inc.

 8   “(ILYM Decl.”), ¶ 5. The list included the name, social security number, last known mailing

 9   address, email address, and the total number of applicable workweeks worked for each Settlement

10   Class Member. Id.

11          To obtain the most current mailing address for each Class Member, ILYM processed the

12   Class List addresses through the National Change of Address (“NCOA”) database maintained by

13   the U.S. Postal Service (“USPS”). ILYM Decl., ¶ 6. On February 22, 2022, ILYM mailed the

14   Court-approved Notice Packet via USPS first-class mail to all 294 Class Members and emailed the

15   Notice Packet to all 294 Class Members, with an objection and exclusion deadline of April 8, 2022,

16   and (for Class Members who are current Matco Tools distributors) a deadline to opt out of the

17   arbitration provision of the Amended Distributorship Agreement of March 24, 2022. ILYM Decl.,

18   ¶¶ 8, 11-13. A copy of the Notice that was sent to Class Members who are current Charter

19   Distributors is attached to the ILYM Declaration as Exhibit A, and a copy of the Notice that was

20   sent to Class Members who are current, non-Charter Distributers is attached to the ILYM

21   Declaration as Exhibit B. On February 22, 2022, ILYM also established a settlement website

22   (www.ilymgroup.com/matcolawsuit), which contained the relevant settlement documents,

23   including the Notice and Settlement Agreement. ILYM Decl., ¶ 7.

24          As of March 25, 2022, of the 294 Notices mailed, 7 were returned as undeliverable. Of the

25   7 returned Notice Packets, none were returned with a forwarding address. ILYM Group performed

26   a computerized skip trace on the 7 returned Notice Packets in an effort to obtain an updated address

27   for purpose of re-mailing the Notice Packet. As a result of this skip trace, 4 updated addresses

28   were obtained and the Notice Packet was promptly re-mailed to those Class Members, via U.S First

                                                     -2-
                                                                     CASE NO.: 3:19-CV-00463-WHO
                              PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
       Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 9 of 21


 1   Class Mail. Accordingly, as of March 25, 2022, a total of 3 Notice Packets have been deemed

 2   undeliverable, as no updated address was found notwithstanding ILYM’s skip tracing. ILYM

 3   Decl., ¶¶ 8-10. Four of the emails sent by ILYM were invalid; however, none of those email

 4   addresses belonged to the Class Members who had undeliverable mailing addresses. Accordingly,

 5   all Class Members have received the Notice Packet through mail, email, or both. Id. at ¶ 10.

 6            As of March 25, 2022, ILYM has received no requests for exclusion from the Settlement

 7   from Class Members. ILYM Decl., ¶ 12. ILYM did not receive any requests to opt out of the

 8   arbitration provision of the Amended Distributorship Agreement by the deadline. Id. at ¶ 11.

 9   ILYM has not received any objections to the settlement from Class Members. Id. at ¶ 13. Nor

10   have any objections been filed with the Court.

11            According to ILYM’s calculations, Participating Settlement Class Members will receive an

12   estimated average gross payment of $31,444.54, with the estimated highest gross payment being

13   $60,364.52. ILYM Decl., ¶ 16. These calculations do not include the additional Debt Forgiveness

14   benefits conferred by the Settlement.

15            ILYM’s estimated Settlement Administration cost is $10,000.00, which covers all services

16   completed to date and the estimated cost of remaining Settlement administration activities,

17   including calculating Class Member payments and distribution of payments. ILYM Decl., ¶ 17.

18   IV.      OVERVIEW OF THE PROPOSED SETTLEMENT

19            The complete details of the Settlement are contained in the Settlement Agreement attached

20   as Exhibit 1 to the Declaration of Peter Rukin submitted with Plaintiffs’ Motion for Preliminary

21   Approval. Dkt. 97-1. Plaintiff also summarized these terms in the Preliminary Approval Motion

22   granted by the Court. Dkt. 97 at 4-9. The following summarizes the Settlement Agreement’s key

23   terms:

24            A.     The Settlement Class

25            Settlement Class Members are defined as all persons who signed Matco Tools franchise

26   Distributorship Agreements in the State of California and personally operated a mobile store at any

27   time between January 25, 2015 through and including the date the Court grants preliminary

28   approval of the Settlement (the “Class Period”). Dkt. 97-1 at 1.13.

                                                      -3-
                                                                     CASE NO.: 3:19-CV-00463-WHO
                              PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
      Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 10 of 21


 1          As described in the Parties’ Preliminary Approval Motion and as approved by the Court in

 2   the Preliminary Approval Order, the Settlement Class is the same as the Class that was certified by

 3   the Court in its Order Granting in Part Motion to Certify Class (“Certification Order”; Dkt. 71);

 4   however, the claims certified for settlement purposes are beyond those certified by the Court in the

 5   context of the Certification Order. In the Certification Order, the Court granted certification as to

 6   the threshold question of misclassification and Plaintiff’s substantive claims for expense

 7   reimbursement, wage statement, and UCL (as to the wage statement claim) but denied it as to

 8   Plaintiff’s claims for overtime, meal and rest breaks, waiting time penalties, and wage deductions.

 9   See generally Certification Order, Dkt. 71. As a condition of the Settlement, the parties stipulated

10   to the propriety of class certification of the previously uncertified wage and hour claims in addition

11   to those that could have been brought based on the same facts alleged in the operative complaint

12   like Fair Labor Standards Act overtime claims. Dkt. 97-1 at 1.41.

13          As explained in the parties’ Preliminary Approval Motion, this is appropriate for a number

14   of reasons. First, including the previously uncertified claims in the scope of the Settlement and

15   release makes sense because the claims arise out of the same common core of facts as the certified

16   claims, rendering reasonable the parties’ expectation of a global settlement. Second, Class Counsel

17   has no indication that any Class Members are interested in pursuing the non-certified claims. Dkt.

18   97-1, ¶ 17. As such, a resolution of all of their claims in the Settlement is in their best interest.

19   Nonetheless, in the event any Class Member does desire to pursue the non-certified claims, the

20   parties have preserved their right to opt-out of the Settlement—and to date, no Class Member has

21   exercised that right. Dkt. 97-1 at 4.1.1. Third, the consideration and relief negotiated is fair,

22   adequate and reasonable with respect to all released claims. In this regard, it is worth noting that

23   this Court expressed in its class certification order that “Matco has a strong argument that the

24   outside sales exemption applies to at least some of the franchisees” as “[t]here is no dispute that

25   franchisees spend the bulk of their time traveling to and visiting with customers in their Matco

26   trucks [e.g. that they likely meet the outside sales definition].” Certification Order, Dkt. 71 at 19.

27          B.      Relief to the Settlement Class

28                  1.      Monetary and Debt Relief

                                                       -4-
                                                                      CASE NO.: 3:19-CV-00463-WHO
                               PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                               FINAL APPROVAL OF CLASS ACTION SETTLEMENT
      Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 11 of 21


 1          The Gross Settlement Value of the Settlement includes both a Monetary Relief component

 2   and Debt Forgiveness by Matco, as detailed below, totaling $15,803,850. Dkt. 97-1 at, 1.9, 1.19,

 3   1.27. The Gross Settlement Value includes all Individual Settlement Payments to Settlement Class

 4   Members and Aggrieved Individuals, Administrative Costs, Class Counsel’s attorneys’ fees and

 5   litigation costs, any Service Awards, Debt Forgiveness, and the PAGA Payment.

 6          The Settlement provides that Matco will pay $13,500,000.00 in “cash” in connection with

 7   the Settlement. Dkt. 97-1 at 1.9. Payment for Court-approved attorneys’ fees and costs, Court-

 8   approved Service Awards, Court-approved Settlement Administration fees and costs, and a payment

 9   to the LWDA will be deducted from this amount. Id. at p. 1.31. The resulting “Net Settlement

10   Amount” will be distributed to Class Members who participate in the Settlement. Id. at 1.31.

11          Additionally, there will be a “Debt Forgiveness” portion of the Settlement, in which Matco,

12   in connection with the Settlement, will forgive the debt owed by Class Members who terminated

13   their Matco Tools distributorships on or before September 8, 2021. The amount of the Debt

14   Forgiveness as of September 8, 2021 is approximately $2,303,850. Rukin Decl., ¶ 13.

15          The Settlement also resolves Plaintiff’s PAGA claim filed on behalf of the State of

16   California. In settlement of that claim, and in exchange for a release, the California Labor and

17   Workforce Development Agency (“LWDA”) shall receive payment of $187,000 for its 75% share

18   of civil penalties and aggrieved Class Members within the PAGA limitations period shall receive a

19   pro rata share of $62,500, for a total PAGA settlement share of $250,000. Dkt. 97-1 at 1.35. A

20   copy of the Settlement Agreement and this motion have been served on the LWDA. Dkt. 97-1, ¶

21   27.

22          Each Participating Class Member will receive a portion of the Net Settlement Amount as

23   follows:

24         (a)      For Settlement Class Members, the Individual Settlement Payment is calculated by

25   dividing the number of eligible workweeks worked during the Class Period by all eligible

26   workweeks during the Class Period attributed to members of the Settlement Class, multiplied by

27   the portion of the Net Settlement Amount that is not attributable to the PAGA Payment. If the

28   Settlement Class Member is an Aggrieved Individual entitled to a PAGA recovery, then the

                                                     -5-
                                                                     CASE NO.: 3:19-CV-00463-WHO
                              PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
      Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 12 of 21


 1   Settlement Class Member shall also receive a share of the PAGA Payment based on the number of

 2   eligible workweeks worked during the PAGA Period. Dkt. 97-1 at 5.4.

 3        (b)       The Individual Settlement Payment of a Settlement Class Member who is a former

 4   Matco Tools distributor accounts for Debt Forgiveness, provided the Settlement Class Member had

 5   terminated their distributorship by, and was indebted to Matco as of, September 8, 2021. For any

 6   Settlement Class Member who receives Debt Forgiveness, the portion of his or her Individual

 7   Settlement Payment not attributable to the PAGA Payment is reduced as follows: (i) Settlement

 8   Class Members with debts of up to $10,000.00 as of September 8, 2021 - 10%; (ii) Settlement

 9   Class Members with debts of between $10,000.01 and $25,000.00 as of September 8, 2021 - 25%;

10   (iii) Settlement Class Members with debts of $25,000.01 or more as of September 8, 2021 - 50%.

11   Dkt. 97-1 at 5.51.

12          (c)     Any sums by which Settlement Class Members’ Individual Settlement Payments

13   were reduced on account of Debt Forgiveness are redistributed to those Settlement Class Members

14   who did not benefit from any Debt Forgiveness. Dkt. 97-1 at 5.51.

15          (d)     If a Settlement Class Member opts out of the Settlement but is an Aggrieved

16   Individual, that Individual Settlement Payment consists solely of a share of the PAGA Payment.

17   Dkt. 97-1 at 5.51(c).

18          (e)     Any Settlement Class Member who is a current California Matco Tools Distributor

19   and who does not submit a timely and valid Arbitration Amendment Opt Out (effectively opting

20   the Settlement Class Member out of the arbitration provision in the Amended Distributorship

21   Agreement) also receives an Arbitration Amendment Allocation of $5,000.00. Dkt. 97-1 at 5.51(d).

22   No Settlement Class Members submitted Arbitration Amendment Opt Outs. ILYM Decl., ¶ 11.

23                  2.       Amended Distributorship Agreements

24          As described in the Preliminary Approval Motion, Class Members who are current non-

25   Charter California Matco Tools Distributors, and who do not submit a valid Request for Exclusion,

26   shall be deemed to have amended their Matco Tools Distributorship Agreement to incorporate the

27   Amended Terms and the Court’s Final Approval Order shall order that their Matco Tools

28

                                                    -6-
                                                                     CASE NO.: 3:19-CV-00463-WHO
                              PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
         Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 13 of 21


 1   Distributorship Agreements incorporate the Amended Terms. Dkt. 97-1 at 6.1. 3

 2           The Amended Terms provide Current California Distributors with certain new rights with

 3   respect to their territories, and in many instances, decreases Matco’s control over Current

 4   California Distributors through the addition or subtraction of numerous contractual provisions,

 5   including but not limited to:

 6              •   Adding procedures though which a Distributor can ask Matco to modify the

 7                  Distributor’s customer list (i.e. “List of Calls”) and Matco’s promise to not

 8                  “unreasonably withhold consent to modify the List of Calls.” (§ 1.2);

 9              •   Adding procedures through which a Distributor can request to sell non-competing

10                  products through their distributorship and Matco’s promise not to unreasonably

11                  withhold permission to sell such products. (§ 3.2);

12              •   Adding that “pricing of products” is the Distributor’s sole prerogative and that should

13                  Matco wish to implement discount, incentive, or coupon programs for end customers,

14                  then Matco will compensate the Distributor accordingly for his or her participation in

15                  those programs. (§§3.12, 6.2);

16              •   Adding a provision stating that Distributors “have the right to sell [their]

17                  Distributorship” and Matco’s promise to not unreasonably withhold consent to sell

18                  the Distributorship. (§ 10.1).

19           The Amended Distributorship Agreement also amends Matco’s dispute resolution

20   procedures, including arbitration and forum selection clauses in prior versions of its Distributorship

21   Agreements—some of which this Court previously deemed unenforceable (see Dkt. 35). The new

22   dispute resolution procedures remedy the issue identified by this Court by eliminating the PAGA

23   waiver (§ 12.5) and also change other provisions to make Matco’s dispute resolution procedures

24   fairer to Distributors. These changes include (1) changing the governing law of the Distributorship

25   Agreement, including its arbitration provision, to that of California – these Distributors’ home state

26

27   3
       Current California Charter Matco Tools Distributors who do not submit a valid Request for
     Exclusion shall be deemed to have amended their Matco Tools Distributorship Agreement to
28   incorporate the Amended Charter Terms. The Amended Charter Terms contains the same revised
     dispute resolution provision as the Amended Terms.
                                                    -7-
                                                                     CASE NO.: 3:19-CV-00463-WHO
                              PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
      Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 14 of 21


 1   - as opposed to Ohio law, as had previously been the case (§ 12.1); (2) changing the “Venue and

 2   Jurisdiction” clause to adopt California as the appropriate forum for disputes, as opposed to

 3   Matco’s home state of Ohio; (3) eliminating the “limitation of actions” provision which previously

 4   gave Distributors as little as one year upon which to bring any accrued claim (§ 12.3); (4) limiting

 5   the application of the arbitration clause to only the Distributor him or herself and any spouse also

 6   executing the Distributor Agreement (as opposed to, as previously was the case, extending the

 7   arbitration clause to all “immediate family members” of the principal Distributor) (§ 12.1); (5)

 8   deleting the prior “Limitation of Damages” provision which had sought to preclude any award of

 9   punitive or consequential damages; and (6) adding that Matco shall pay for all costs unique to

10   arbitration, whereas previously the Distributor was to share equally in any arbitration costs.

11   Distributors had the right to opt out of the new dispute resolution provisions; however, none chose

12   to do so. All current Distributors accordingly receive an extra $5,000 payment. Dkt. 97-1 at

13   5.5.1(d).

14          C.      Service Awards, Attorneys’ Fees, and Costs

15          The following sums will be deducted from the Settlement Amount: (1) Service Award

16   payments to the Named Plaintiff, Simon Goro, and Emanuel Aguilera; (2) the fees and expenses of

17   the Claims Administrator; (3) Class Counsel’s attorneys’ fees; (4) Class Counsel’s litigation costs;

18   and (5) payment of $250,000 in settlement of the PAGA claims ($187,500 of which will go to the

19   LWDA and $62,500 of which will be distributed among the aggrieved employees). Dkt. 97-1 at

20   1.31, 1.35. With respect to attorneys’ fees, Plaintiff has requested $3,950,962.50, an amount equal

21   to 25% percent of the Gross Settlement Value. See generally Motion for Attorneys’ Fees. With

22   respect to service awards, Plaintiff seeks $25,000 for the Named Plaintiff and $15,000 each to Goro

23   and Aguilera for their participation and assistance in the prosecution of this action and ancillary

24   proceedings. Id.

25          D.      Release of Claims

26          Settlement Class Members who do not opt out of the Settlement will release all claims or

27   causes of action alleged in the Complaint, as well as all claims arising from the California Labor

28   Code, wage orders and applicable regulations that could have been raised based on the facts alleged

                                                      -8-
                                                                     CASE NO.: 3:19-CV-00463-WHO
                              PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
      Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 15 of 21


 1   in the Complaint. Dkt. 97-1 at 7.1. Settlement Class Members who cash a settlement check will also

 2   release their claims under the federal Fair Labor Standards Act. Id. As more fully detailed in

 3   Plaintiff’s Motion for Attorneys’ Fees, Named Plaintiff, Simon Goro, and Emanuel Aguilera agree to

 4   a general release of claims. See also id. at 7.2.

 5   V.     THE COURT SHOULD GRANT FINAL APPROVAL OF THE SETTLEMENT

 6          A.      The Criteria for Final Settlement Approval Are Satisfied

 7          There is a “strong judicial policy that favors settlements, particularly where complex class

 8   action litigation is concerned.” Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir.

 9   1992). “Litigation settlements offer parties and their counsel relief from the burdens and

10   uncertainties inherent in trial. … The economies of litigation are such that pretrial settlement may be

11   more advantageous for both sides than expending the time and resources inevitably consumed in the

12   trial process.” Franklin v. Kaypro Corp., 884 F.2d 1222, 1225 (9th Cir. 1989).

13          “The initial decision to approve or reject a settlement proposal is committed to the sound

14   discretion of the trial judge.” Officers for Just. v. Civ. Serv. Comm'n of City & Cty. of San

15   Francisco, 688 F.2d 615, 625 (9th Cir. 1982). In assessing a class action settlement, district courts

16   are required to determine whether the proposed settlement is fair, reasonable, and adequate. Fed. R.

17   Civ. P. 23(e)(2). To determine whether a settlement agreement meets these standards, a district

18   court must consider a number of factors, including: (1) the strength of plaintiffs’ case; (2) the risk,

19   expense, complexity, and likely duration of further litigation; (3) the risk of maintaining the case as

20   a class action; (4) the amount of recovery; (5) the extent of discovery completed and the stage of

21   proceedings; (6) the experience and views of counsel; (7) the presence of a governmental

22   participant; and (8) the reaction of class members. Staton v. Boeing Co., 327 F.3d 938, 959 (9th

23   Cir. 2003). “The relative degree of importance to be attached to any particular factor will depend

24   upon and be dictated by the nature of the claim(s) advanced, the type(s) of relief sought, and the

25   unique facts and circumstances presented by each individual case.” Officers for Justice, 688 F.2d at

26   625.

27          As detailed below, and consistent with the Court’s Preliminary Approval Order, these factors

28   indicate that the settlement is fair, reasonable, and adequate, and the settlement should be approved.

                                                         -9-
                                                                      CASE NO.: 3:19-CV-00463-WHO
                               PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                               FINAL APPROVAL OF CLASS ACTION SETTLEMENT
      Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 16 of 21


                     1.      The Settlement is Fair Given the Strength of Plaintiff’s Case and the Risk,
 1                           Expense, Complexity, and Likely Duration of Further Litigation
 2           As described in significant detail in the class certification briefing (see Dkts. 58, 68, 71),

 3   Plaintiff’s primary contention is that Matco classified its Distributors as independent contractors

 4   while reserving and exercising levels of control consistent with an employment rather than

 5   independent contractor relationship. Plaintiff further alleges that, as a result of this

 6   misclassification, Plaintiff and Settlement Class Members are owed compensation for various

 7   benefits of employment that Matco neglected to pay them. Although Plaintiff believes that the

 8   documents produced in discovery and information revealed during depositions support Plaintiff’s

 9   allegations, a finder of fact could conclude that Distributors were properly classified as

10   independent contractors. Separately, the Settlement Class faced risks proving their claims in a

11   classwide trial with competent classwide evidence. Moreover, even if Plaintiff was successful at

12   the liability and damages phases of this case, there are risks of delays due to COVID-19 and likely

13   appeals on central issues in this case under constantly evolving California law.

14           Rather than undertake these risks, Plaintiff secured strong relief for the Class. As detailed in

15   the Preliminary Approval Motion, Settlement Class Members are recovering, before deduction for

16   attorneys’ fees and costs, an average of approximately 41 percent of their maximum potential

17   damages on the certified claims. See Preliminary Approval Motion, Dkt. 97-1 at ¶¶ 14-15.

18   According to ILYM’s calculations, Participating Settlement Class Members will receive an

19   estimated average gross payment of $31,444.54, with the estimated highest gross payment being

20   $60,364.52. ILYM Decl., ¶ 16. These calculations do not include the additional Debt Forgiveness

21   benefits conferred by the Settlement. The amounts of such settlement payments are fair, adequate,

22   and reasonable. In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000) (one-sixth

23   (16.67%) recovery adequate in light of risks).

24           It is also possible, however, that even if a jury found liability in a phase one trial, that the

25   damages awarded could be substantially less than the maximum damages estimated above, as

26   Matco has contended throughout the litigation. The Settlement also affords relief to Settlement

27   Class Members who likely would never have filed individual claims. Given these circumstances,

28   the settlement is fair, adequate, and reasonable. By settling at this stage for strong value, Plaintiff

                                                       - 10 -
                                                                      CASE NO.: 3:19-CV-00463-WHO
                               PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                               FINAL APPROVAL OF CLASS ACTION SETTLEMENT
      Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 17 of 21


 1   maximized the speed of recovery while obtaining significant value per Settlement Class Member.

 2   This strongly supports finally approving this Settlement.

 3                  2.      The Settlement Reflects the Informed Views of Experienced Counsel and is
                            the Product of Serious, Arm’s-Length Negotiations Conducted After
 4                          Extensive Discovery and Investigation
 5          “‘Great weight’ is accorded to the recommendation of counsel, who are most closely

 6   acquainted with the facts of the underlying litigation.” Nat'l Rural Telecommunications Coop. v.

 7   DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004) (internal citation omitted). This is because

 8   “[p]arties represented by competent counsel are better positioned than courts to produce a

 9   settlement that fairly reflects each party’s expected outcome in the litigation.” Id., quoting In re

10   Pac. Enterprises Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995). Moreover, a “settlement following

11   sufficient discovery and genuine arms-length negotiation is presumed fair.” National Rural

12   Telecommunications Cooperative, 221 F.R.D. at 528 (citations omitted). “The assistance of an

13   experienced mediator in the settlement process confirms that the settlement is non-collusive.”

14   Pederson v. Airport Terminal Servs., 2018 WL 2138457, at *7 (C.D. Cal. April 5, 2018), quoting

15   Satchell v. Fed. Express Corp., 2007 WL 1114010, at *4 (N.D. Cal. Apr. 13, 2007).

16          Here, the parties reached a settlement after arm’s length negotiations that were conducted

17   under the supervision of two very experienced mediators, Jeff Ross and Jeff Wohl. Rukin Decl., ¶

18   12. The parties attended two full days of mediations and conducted follow up negotiations over the

19   course of several months following the final mediation. Id. These discussions occurred after

20   extensive discovery efforts, document productions, Plaintiff and Defendant depositions, numerous

21   Class Member depositions, discovery to the putative class, and careful data analysis to comprehend

22   potential damages. Id.

23           Further, the parties briefed numerous complex legal and factual issues in this case,

24   including arbitration and forum selection (Fleming v. Matco Tools Corporation, 384 F.Supp.3d

25   1124 (N.D. Cal. May 3, 2019)), choice of law (Dkt. 62), class certification (Dkt. 71), and Matco’s

26   Motion for Judgment on the Pleadings (Dkt. 89). This extensive motion practice allowed Class

27   Counsel to assess the strengths and weaknesses of the claims asserted and determine that the

28   benefits of the proposed Settlement outweighed the benefits that could be achieved through further

                                                      - 11 -
                                                                     CASE NO.: 3:19-CV-00463-WHO
                              PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
         Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 18 of 21


 1   litigation of this case. Rukin Decl., ¶¶ 14-15; Tomasevic Decl. ¶¶ 15-17. See In re Omnivision

 2   Techs., Inc., 559 F. Supp. 2d 1036, 1042 (N.D. Cal. 2008) (“the extent of the discovery to date and

 3   the stage of the litigation are both indicators of [Class] counsel’s familiarity with the case and of

 4   Plaintiffs having enough information to make informed decisions”). In sum, the proposed

 5   Settlement is the non-collusive product of hard-fought litigation. Class Counsel are experienced

 6   employment counsel well-versed in the applicable substantive law, class action litigation, and the

 7   legal and factual issues in these cases. Rukin Decl., ¶¶ 2-5; Tomasevic Decl. ¶¶ 2-14. The factors

 8   relating to the views of counsel, as well as the depth of discovery and the arm’s-length nature of

 9   the settlement, support final approval of the Settlement in this case.

10                  3.      The Lack of Opposition By the Class Supports Approval of the Settlement
11           “The reactions of the members of a class to a proposed settlement is a proper consideration

12   for the trial court.” National Rural Telecommunications Cooperative, 221 F.R.D. at 528, citing 5

13   Moore’s Federal Practice, § 23.85(2)(d) (Matthew Bender 3d. ed.). As described above, to date 4, no

14   Settlement Class Members have excluded themselves from the settlement and no Settlement Class

15   Member has filed an objection to the settlement ILYM Decl., ¶¶ 12-13. Indeed, Settlement Class

16   Members have affirmatively expressed positive opinions about the Settlement to Class Counsel.

17   See Rukin Decl. ¶ 17. The lack of objections demonstrates the fairness, reasonableness, and

18   adequacy of the settlement. See, e.g., Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 577 (9th

19   Cir. 2004) (settlement was fair, adequate, and reasonable where 0.05% of class members objected

20   and 0.55% of class members opted out); Boyd v. Bechtel Corp., 485 F. Supp. 610, 624 (N.D. Cal.

21   1979) (finding settlement fair, adequate, and reasonable where 16% of class members objected to

22   the settlement); Klee v. Nissan N. Am., Inc., No. CV1208238AWTPJWX, 2015 WL 4538426, at *9

23   (C.D. Cal. July 7, 2015) (finding settlement to be fair, adequate, and reasonable where 0.62% of

24   class members requested exclusion and .06% of the class members objected); Schiller v. David’s

25   Bridal, Inc., No. 1:10-cv-00616-AWI-SKO, 2012 WL 2117001, at *14 (E.D. Cal. Jun. 11, 2012)

26   (finding settlement to be fair, adequate, and reasonable where “less than two-tenths of one percent

27

28   4
      As explained above, Class Counsel will submit a supplemental statement at the close of the
     consideration period to update the Court regarding the final numbers of any opt-outs or objections.
                                                    - 12 -
                                                                     CASE NO.: 3:19-CV-00463-WHO
                              PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
      Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 19 of 21


 1   of Class Members opted out of the Settlement” and no class members objected).

 2          B.      The Notice Provided to Settlement Class Members was Reasonable

 3          Before a proposed settlement is approved, Rule 23 requires the Court to ensure that notice

 4   is directed “in a reasonable manner to all class members who would be bound” by the proposed

 5   settlement. Fed. R. Civ. P. 23(c)(2)(B) and (e)(1). Plaintiff submitted the parties’ agreed-upon

 6   Notice with their Motion for Preliminary Approval, which the Court approved. See Dkt. 104.

 7          As detailed in the ILYM Declaration and described above, notice of the proposed

 8   Settlement was distributed to Settlement Class Members in accordance with the Court’s January 20

 9   Order. ILYM Decl., ¶¶ 4-10. The Notice provided a detailed explanation of the claims being

10   released, the estimated compensation to each Settlement Class Member, how that compensation

11   was calculated, how Class Members could receive payment, Settlement Class Members’ rights and

12   options, the identities of the Plaintiff and Class Counsel, the date and location of the final fairness

13   hearing, and where Settlement Class Members could locate additional information about the

14   Settlement. ILYM Decl., Exhs. A, B. In sum, the content and method of distribution of the Notice

15   provided Class Members with sufficient information and opportunity to decide whether or not to

16   participate in the Settlement and was therefore reasonable.

17          C.      The Requested LWDA Payment is Reasonable

18          In reviewing a class action settlement that encompasses claims under the Private Attorneys

19   General Act (“PAGA”), the trial court should evaluate the adequacy of compensation to the class

20   as well as the adequacy of the settlement in view of the purposes and policies of PAGA. See

21   O'Connor v. Uber Techs., Inc., 201 F. Supp. 3d 1110, 1134 (N.D. Cal. 2016). In performing this

22   analysis, “the court may apply a sliding scale. For example, if the settlement for the Rule 23 class

23   is robust, the purposes of PAGA may be concurrently fulfilled. By providing fair compensation to

24   the class members as employees and substantial monetary relief, a settlement not only vindicates

25   the rights of the class members as employees, but may have a deterrent effect upon the defendant

26   employer and other employers, an objective of PAGA.” Id.

27          Here, the Settlement, including the $250,000 PAGA settlement—$187,500 of which will be

28   paid to the LWDA—fulfill the purposes of PAGA. Because the core of this case is Plaintiff’s

                                                      - 13 -
                                                                      CASE NO.: 3:19-CV-00463-WHO
                               PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                               FINAL APPROVAL OF CLASS ACTION SETTLEMENT
      Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 20 of 21


 1   allegation that he and other Settlement Class Members were misclassified as independent

 2   contractors and thus not paid for the benefits of employment—including for expenses and related

 3   damages—the proposed distribution ensures that the majority of the Settlement funds will be

 4   allocated to Settlement Class Members who are owed unpaid business expenses and related

 5   compensation. This is consistent with the purposes of PAGA, which include “encouraging

 6   compliance with Labor Code provisions” and “further[ing] the state’s policy to protect workers

 7   from substandard and unlawful conditions.” O’Connor, 201 F. Supp. 3d. at 1132-33 (citing brief

 8   submitted by the LWDA).

 9          Plaintiff also considered the range of payments to the LWDA in similar cases in

10   determining how much to allocate to the LWDA here. The proposed payment of $187,500 out of a

11   total Settlement value of $15,803,850 is in line with the range of payments to the LWDA that have

12   been approved in other cases. See, e.g., Chu v. Wells Fargo Invs., LLC, No. C-05-4526-MHP, 2011

13   WL 672645, at *1, *6 (N.D. Cal. Feb. 16, 2011) (approving $7,500 payment to LWDA out of $6.9

14   million common fund settlement); Millan v. Cascade Water Servs., Inc., No.

15   112CV01821AWIEPG, 2016 WL 3077710, at *1, *14 (E.D. Cal. May 31, 2016) (approving

16   $3,000 payment to LWDA out of $150,000 total settlement); McKenzie v. Fed. Exp. Corp., No. CV

17   10-02420 GAF PLAX, 2012 WL 2930201, at *1, *12 (C.D. Cal. July 2, 2012) (approving $61,875

18   payment to LWDA out of total settlement of $8.25 million); Schiller, 2012 WL 2117001, at *13,

19   *24 (recommending approval of settlement including $7,500 payment to LWDA out of $518,245

20   settlement amount).

21          D.      The Requested Administration Costs are Reasonable

22          The reimbursement of expenses requested by the Settlement Administrator is reasonable.

23   As set forth in the Settlement Administrator’s declaration, ILYM prepared the class notices for

24   mailing, mailed and emailed nearly 300 class Notices, conducted necessary follow-up with regard

25   to returned notices, created a settlement website, and will be responsible for distribution of the

26   settlement funds. See generally ILYM Decl. ILYM’s requested fee of $10,000 is thus reasonable.

27   VI.    CONCLUSION

28          For the foregoing reasons, Plaintiffs respectfully request that the Court issue an order: (1)

                                                     - 14 -
                                                                     CASE NO.: 3:19-CV-00463-WHO
                              PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
      Case 3:19-cv-00463-WHO Document 106 Filed 03/28/22 Page 21 of 21


 1   granting final approval of the proposed Settlement; (2) finding that adequate notice was provided to

 2   the Settlement Class; (3) approving a payment of $10,000 to ILYM for settlement administration

 3   costs; (4) approving a payment of $187,500 to the LWDA; and (5) dismissing this lawsuit with

 4   prejudice while retaining jurisdiction over the case and the Parties to the extent necessary to

 5   implement the terms of the Settlement Agreement until each act agreed to be performed by the

 6   Parties under the Settlement has been performed.

 7
     Dated: March 28, 2022                                 RUKIN HYLAND & RIGGIN LLP
 8
                                                   By:      /s/ Peter Rukin
 9                                                         Peter Rukin (SBN 178336)
                                                           Jessica Riggin (SBN 281712)
10                                                         Valerie Brender (SBN 298224)
                                                           1939 Harrison Street, Suite 290
11                                                         Oakland, CA 94612
                                                           Tel: (415) 421-1800
12                                                         Fax: (415) 421-1700
                                                           Email: prukin@rukinhyland.com
13                                                         Email: jriggin@rukinhyland.com
                                                           Email: vbrender@rukinhyland.com
14
                                                           Attorneys for Plaintiff,
15                                                         JOHN FLEMING
16

17                                                         NICHOLAS & TOMASEVIC, LLP
18
                                                   By:     /s/ Shaun Markley
19                                                         Craig M. Nicholas (SBN 178444)
                                                           Alex Tomasevic (SBN 245598)
20                                                         Shaun Markley (SBN 291785)
                                                           225 Broadway, 19th Floor
21                                                         San Diego, California 92101
                                                           Tel: (619) 325-0492
22                                                         Fax: (619) 325-0496
                                                           Email: cnicholas@nicholaslaw.org
23                                                         Email: atomasevic@nicholaslaw.org
                                                           Email: smarkley@nicholaslaw.org
24

25                                                         Attorneys for Plaintiff,
                                                           JOHN FLEMING
26

27

28

                                                     - 15 -
                                                                     CASE NO.: 3:19-CV-00463-WHO
                              PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR
                              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
